                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

CHRISTOPHER M. LAWSON,                           )
                                                 )
              Petitioner,                        )
                                                 )
v.                                               )       Nos.   3:14-CR-2-RLJ-CCS-14
                                                 )              3:16-CV-372-RLJ
UNITED STATES OF AMERICA,                        )
                                                 )
              Respondent.                        )

                                   JUDGMENT ORDER

        For the reasons expressed in the accompanying memorandum opinion, it is ORDERED

and ADJUDGED that Petitioner’s supplemented § 2255 motion [Docs. 1018, 1019] is

DISMISSED WITHOUT PREJUDICE pursuant to his notice of voluntary dismissal [Doc.

1047]. The Clerk’s Office is DIRECTED to terminate the civil case associated therewith [E.D.

Tenn. Case No. 3:16-CV-372-RLJ]. The United States’ motion to deny and dismiss with prejudice

[Doc. 1046] is DENIED as moot.

              IT IS SO ORDERED.

                                                         ENTER:



                                                                s/ Leon Jordan
                                                          United States District Judge


ENTERED AS A JUDGMENT
    s/ Debra C. Poplin
   CLERK OF COURT




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